                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                      )         COLLIER/CARTER
                                              )
        v.                                    )         CASE NO. 1:14-CR-83
                                              )
CHRISTOPHER WILLIAMS                          )


                             REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on January 20, 2015.

At the hearing, defendant entered a plea of guilty to the lesser included offense in Count One of the

Indictment, conspiracy to distribute fifty grams or more of a mixture and substance containing a

detectable amount of methamphetamine, in violation of Title 21, U.S.C. §§ 846, 841(a)(1) and

(b)(1)(B), in exchange for the undertakings made by the government in the written plea agreement.

On the basis of the record made at the hearing, I find that the defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full understanding

of each of the rights waived by defendant; that it is made voluntarily and free from any force,

threats, or promises, apart from the promises in the plea agreement; that the defendant understands

the nature of the charge and penalties provided by law; and that the plea has a sufficient basis in

fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the charges

set forth in the lesser included offense in Count One of the Indictment, and that the written plea

agreement be accepted at the time of sentencing. I further recommend that defendant remain in

custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt, acceptance


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of the plea agreement, and imposition of sentence are specifically reserved for the district judge.

       The defendant=s sentencing date is scheduled for Thursday, April 23, 2015, at 9:00 am.



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                                               UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. '636(b).




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